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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

 (1) GREENLITE HOLDINGS, LLC,      §
                                   §
       Plaintiff,                  §
                                   §
 v.                                §                        Case No. CIV-21-646-HE
                                   §
 (1) THIRD COAST INSURANCE COMPANY §
                                   §
       Defendant.                  §
                                   §

             DEFENDANT THIRD COAST INSURANCE COMPANY’S
                        NOTICE OF REMOVAL


      Defendant Third Coast Insurance Company (“Third Coast”) files this Notice of

Removal pursuant to 28 U.S.C. § 1441, and in support thereof states as follows:

                                I.       BACKGROUND

      1.     Plaintiff Greenlite Holdings, LLC (“Greenlite Holdings”) commenced this

lawsuit on May 17, 2021 by filing its Petition in the District Court of Oklahoma County,

Oklahoma, bearing Cause No. CJ-2021-2146 (the “State Court Action”). See Petition, Ex.

2.

      2.     Greenlite Holdings’ Petition names Third Coast as the only defendant.

      3.     Greenlite Holdings served Third Coast with its Petition through certified mail

on May 24, 2021. See Petition, Ex. 2. Third Coast has not filed its Answer in the State

Court Action. See Docket Sheet, Ex. 1.

      4.     On June 16, 2021, Greenlite Holdings filed its First Amended Petition in the

District Court of Oklahoma County, Oklahoma. See First Amended Petition, Ex. 7. As of
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the time of this filing, Greenlite Holdings has not served Third Coast with its First

Amended Petition.

       5.     Third Coast timely filed its Notice of Removal in this Court within 30 days

of service of the initial pleading filed in this matter. 28 U.S.C. § 1446(b)(2)(B).

       6.     The United States District Court for the Western District of Oklahoma is the

appropriate court for filing this Notice of Removal since the District Court of Oklahoma

County, where the State Court Action is currently pending, is within this Court’s

jurisdiction. See 28 U.S.C. §§ 116(c), 1446(d); Petition, Ex. 2; First Amended Petition, Ex.

7.

                             II.    BASIS FOR REMOVAL

       7.     Removal is proper under 28 U.S.C. § 1332(a) if there is complete diversity

between the parties and the amount in controversy exceeds $75,000, exclusive of interest,

costs and attorneys' fees. These two conditions are satisfied in this matter.

       8.     There is no dispute that Greenlite Holdings has alleged damages in excess of

$75,000. See First Amended Petition at ¶ 5, Ex. 7.

       9.     Because there is complete diversity of citizenship, and the amount in

controversy exceeds $75,000 (exclusive of interest, costs and attorneys' fees), Third Coast

has properly removed this case to federal court.

                      III.   ARGUMENTS AND AUTHORITIES

A.     Removal is Proper Because Complete Diversity of Citizenship Exists Between
       Greenlite Holdings and Third Coast.
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        10.    Upon information and belief, Greenlite Holdings is a limited liability

company organized under the laws of the State of Arizona with a principal place of business

in Arizona. See Articles of Organization, Ex. 8. Limited liability companies are treated the

same as partnerships for diversity jurisdiction purposes, and, therefore, courts look to the

citizenship of each member of the company to determine if complete diversity of

citizenship exists. Siloam Springs Hotel, LLC v. Century Sur. Co., 781 F.3d 1233, 1237-38

(10th Cir. 2015) (“Under Oklahoma law, an LLC is an unincorporated association or

proprietorship. Supreme Court precedent makes clear that in determining the citizenship of

an unincorporated association for purposes of diversity, federal court must include all the

entitles’ members.”). Upon information and belief, Greenlite Holdings has one member:

Jonathan Lewis. See Articles of Organization, Ex. 8. Under Federal law, a member’s

citizenship is based on where he is domiciled, i.e., where he resides and intends to remain.

Prestige Mfg. Co., LLC v. Gault, No. CIV-20-56-R, 2020 WL 1030902, slip op. at *2

(W.D. Okla. March 3, 2020) ( “To establish domicile in a particular state, a person must be

physically present in the state and intend to remain there.”). Upon information and belief,

Jonathan Lewis is a citizen of the state of Arizona, because he resides and intends to remain

in Tempe, Arizona. Greenlite Holdings has no other members. See Articles of

Organization, Ex. 8.

       11.     Defendant Third Coast is a foreign insurance company organized under the

laws of the State of Wisconsin and has its principal place of business in the State of

Michigan. Pursuant to 28 U.S.C. § 1332(c), a corporation is a citizen of every state by

which it has been incorporated and of the state where it has its principal place of business.


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Therefore, Third Coast is a citizen of the state of Wisconsin and the state of Michigan for

diversity jurisdiction purposes.

       12.     Since Greenlite Holdings’ managing member is a citizen of the state of

Arizona and Third Coast is a citizen of the states of Wisconsin and Michigan, complete

diversity of citizenship exists, making removal proper.

B.     Removal is Proper Because Greenlite Holdings’ Claimed Damages Exceed This
       Court's Jurisdictional Threshold of $75,000

       13.     “The amount in controversy is ordinarily determined by the allegations of the

complaint, or, where they are not dispositive, by the allegations in the notice of removal.”

Laughlin v. Kmart Corp., 50 F.3d 871 (10th Cir. 1995), abrogated by Dart Cherokee Basin

Operating Co., LLC v. Owens, 574 U.S. 81, 81 (2014), on other grounds.

       14.     Greenlite Holdings affirmatively states in its First Amended Petition that

“[t]he amount in controversy underlying this action exceeds the jurisdictional amount for

diversity jurisdiction under federal law.” See First Amended Petition, Ex. 7. Upon

information and belief, Greenlite Holdings bases this statement upon a repair estimate in

the amount of $2,884,831.28 for the property damages it claims from an October 2020 ice

storm, which Third Coast disputes. See Plaintiff’s Damages Estimate, Ex. 9.

       15.     Therefore, the jurisdictional threshold is met, and removal is proper.

                                   III.   CONCLUSION

       16.     Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of this Notice will

be filed with the clerk of Oklahoma County, Oklahoma promptly after the filing of this

Notice.
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       17.     As required by 28 U.S.C. § 1446(a) and Local Rule 81.2, a copy of each of

the following documents relating to the State Court Action are attached to (or filed

contemporaneously with) this Notice:

               (1)    A copy of the State Court Docket Sheet, Exhibit 1;

               (2)    Petition, Exhibit 2;

               (3)    Entry of Appearance of Kenneth Cole, Exhibit 3;

               (4)    Entry of Appearance of Steven Mansell, Exhibit 4;

               (5)    Entry of Appearance of Keith Givens, Exhibit 5;

               (6)    Summons to Third Coast Insurance Company, Exhibit 6; and

               (7)    First Amended Petition, Exhibit 7.

       18.     Pursuant to 28 U.S.C. § 1446(d), written notice of filing of this Notice will

be given to all adverse parties promptly after the filing of this Notice.

       THEREFORE, Defendant Third Coast Insurance Company, pursuant to and in

conformance with the requirements of 28 U.S.C. §§§ 1332, 1441, and 1446, and in

accordance with this Court’s local rules, removes the case styled Greenlite Holdings, LLC

v. Third Coast Insurance Company, Cause No. CJ-2021-2146, from the District Court of

Oklahoma County, Oklahoma to the United States District Court for the Western District

of Oklahoma, and asks that this Court enter any orders as may be necessary and

appropriate.




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                                        Respectfully submitted,

                                        s/Shannon S. Bell__________
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                           CERTIFICATE OF SERVICE

       This is to certify that on the 23rd day of June, 2021, the above document was
electronically transmitted to the Clerk of the Court using the ECF System for filing and
transmittal of a Notice of Electronic Filing to the following ECF registrants:

Steven S. Mansell,
Kenneth G. Cole,
Keith F. Givens
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                                        s/Shannon S. Bell
